                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF MISSOURI



APT GROUP INC. d/b/a MOTOVOX, a
Missouri corporation, and APT IP
HOLDINGS, LLC, a Missouri corporation,
                                                             STIPULATED MOTION FOR
          Plaintiffs,                                        PRELIMINARY INJUNCTION
                                                             DISCOVERY AND BRIEFING
vs.                                                                SCHEDULE

MONSTER MOTO, LLC, a Texas limited
liability company, OLEN RICE, an individual,                       Case No. 4:14-cv-546
ROBERT A. RICE, SR., an individual, JON
UMSTED, an individual, KENNETH
FRANCIS, an individual, and BECK
SALANDER, an individual,

          Defendants.


          Plaintiffs APT Group, Inc. d/b/a MotoVox and APT IP Holdings, LLC (“MotoVox” or

“Plaintiffs”) and Defendants Monster Moto, LLC, Olen Rice, Robert Rice, Jon Umsted, and

Kenneth Francis (“Defendants”), jointly file this Stipulated Motion for Preliminary Injunction

and Briefing Schedule to set a discovery schedule and extend the briefing deadlines associated

with Plaintiffs’ pending Motion for Preliminary Injunction (the “Motion”). The parties have

conferred in good faith and believe that, given the number of parties and complexity of issues,

discovery is necessary prior to completing briefing on Plaintiffs’ Amended Motion for

Preliminary Injunction (“Motion”), filed on August 18, 2014 (Dkt. 27).1 As a result of the




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    Plaintiffs’ filed their original Motion for Preliminary Injunction on July 14, 2014 (Dkt. 8).


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necessary discovery, an extension of briefing deadlines regarding Plaintiffs’ Motion also is

necessary. Accordingly, the parties hereby agree and stipulate to the following:

        Written Discovery:

             The parties agree that MotoVox will respond to the First Request for Production of

              Documents served by defendants Monster Moto, LLC (“Monster Moto”), Olen Rice,

              Robert Rice, and Jon Umsted on September 9, 2014, by October 1, 2014. These

              defendants agree not to serve any other written discovery on MotoVox as part of the

              early discovery on the Motion.

             MotoVox may issue to defendant Monster Moto, LLC no more than ten (10) requests

              for production of documents related to the issues raised in Plaintiff’s Motion.

              MotoVox will serve its requests by September 15, 2014. Monster Moto’s responses

              will be due on November 11, 2014. No other written discovery will be served by

              MotoVox on any defendant as part of the early discovery on the Motion.

        Depositions:

             MotoVox agrees that it will make Mr. Troy Covey available for one seven (7) hour

              deposition limited to the issues raised in Plaintiffs’ Motion and/or the Declarations of

              Mr. Covey filed in support on November 3 or November 5.

             Defendants agree that between November 21 and December 5, they will make

              available one defendant or agent or employee of Monster Moto available for one

              seven (7) hour deposition, limited to the issues raised in Plaintiffs’ Motion and/or

              defendants’ contentions in opposition to that motion.




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             Each Defendant shall have the right to submit a Declaration from an employee or

              himself, as well as any expert witnesses, in support of the Defendant’s response to the

              Motion for Preliminary Injunction.

        Briefing:

             Because Mr. Covey of Plaintiff APT is not available for deposition before October

              27, and due to other scheduling conflicts of the parties and counsel, the parties agree

              to extend the October 30, 2014 deadline for Defendants’ responses to MotoVox’s

              Motion for Preliminary Injunction three weeks until November 20, 2014.

             MotoVox’s Reply in Support of its Motion for Preliminary Injunction is due

              December 12, 2014.

        THEREFORE, the parties jointly request the Court grant their Stipulated Motion. A

proposed order is submitted herewith.



        DATED: October 9, 2014



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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on October 9, 2014, a true and correct copy of the
foregoing was filed electronically and served via the Court's CM/ECF system on all attorneys of
record.

                                                   /s/ R. Cameron Garrison
                                                   An Attorney for Plaintiffs




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